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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

DANIEL GUMNS, MICHAEL VIDEAU,                   *
REVON WILEY, IAN CAZENAVE,                      *
REGINALD GEORGE, LIONEL TOLBERT,                *
OTTO BARRERA, KENTRELL PARKER                   *
MICHAEL ROBINSON, JULIUS ALLEN,                 *
ERNEST ROERS, ALFOANSO GARNER,                  *
BRADLEY WINTERS, KENDRICK WILSON                *
JAMES HUGHES, on behalf of themselves and all   *
similarly situated individuals                  *
                                                *        NO. 3:20-cv-231-SDD-RLB
VERSUS                                          *
                                                *
JOHN BEL EDWARDS, in his official               *        CLASS ACTION
capacity as Governor of the State of Louisiana; *
LOUISIANA DEPARTMENT OF PUBLIC                  *
SAFETY & CORRECTIONS; JAMES LeBLANC, *
in his official capacity as Secretary of the    *
Department of Safety & Corrections; JOHN        *
MORRISON, in his official capacity as Medical   *
Director of the Department of Public Safety &   *
Corrections; LOUISIANA DEPARTMENT OF            *
HEALTH; and Stephen R. RUSSO, in his official *
capacity as Interim Secretary of the Louisiana  *
Department of Health                            *

                 PROPOSED STATEMENT OF STIPULATED FACTS

   1. In response to the COVID-19 pandemic, DOC has developed a plan for all patients within

      the DOC system.

   2. Louisiana State Penitentiary (“LSP”) initially activated DOC’s Influenza and Pandemic

      Viral Outbreaks regulation, which, as part of DOC’s infection control program, provides a

      formal policy and procedure framework concerning the planning, preparation, and

      management of a pandemic viral disease or an influenza outbreak.

   3. Pursuant to the governing Department Regulation, each state prison has implemented a

      Continuity of Operations Plan (“COOP”).
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4. LSP developed a customized facility plan to address COVID-19.

5. DOC has suspended visitation, volunteering, tours, routine transfers from the local level,

    and postponed the spring rodeo.

6. DOC has created a COVID-19 webpage.

7. DOC has created two COVID-19 informational videos for all offenders.

8. These videos are available in both English and Spanish.

9. LSP has one entrance.

10. LSP’s Camp J is currently being used as an isolation facility to house patients from local

    jails who test positive for COVID-19 and patients within the LSP population who test

    positive.

11. Camp J began accepting patients for isolation on or about April 2, 2020.

12. Patients housed at local facilities who test positive for COVID-19 are transported to Camp

    J for isolation if they cannot be safely housed at their local facility.

13. Camp J is located on LSP’s 1,800-acre campus.

14. All initial intakes are housed at the “Bass” unit for early isolation and monitoring.

15. There are approximately 40 people housed at Bass currently.

16. The “Gar” unit is called a “step down” isolation facility.

17. After a patient completes 14 days in the Gar unit, the patient is then re-tested for COVID-

    19.

18. If a patient has a negative test, they are tested again, and, if that second test is also negative,

    the patient is considered “recovered.”

19. Camp J has one nurse practitioner on staff.

20. Camp J has two to three registered nurses on site per shift.



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21. Bass is an open dormitory.

22. There are no dividers between the beds at Bass.

23. There are no ventilators at Camp J.

24. There is one ambulance at Camp J.

25. As of April 27, there are approximately 108 people being held in medical isolation at Camp

   J.

26. The Camp J medical staff is not housed at Camp J.

27. There are no call buttons in cells.

28. The beds in the cells are bolted against the walls.

29. No windows have been added at Camp J since 2018.

30. East Baton Rouge Parish is no longer sending patients to Camp J for isolation.

31. Some offenders from LSP’s Camp F are working at Camp J.

32. Otto Barrera was taken to Camp J on April 22 and then taken back to Ward 1 that same

   day.

33. COVID-19 is a viral pandemic.

34. COVID-19 poses an ongoing threat to the health and safety of all residents of Louisiana.

35. COVID-19 is highly infectious.

36. The incubation period of COVID-19 is 2 to 14 days.

37. Symptoms of COVID-19 can include fever, cough, chest pain, headache, loss of smell,

   diarrhea, aches, vomiting, and difficulty breathing.

38. Pneumonia is a potential consequence of COVID-19.

39. People positive for COVID-19 can also present with no symptoms.

40. COVID-19 can be deadly.



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41. COVID-19 tests can provide false negatives.

42. People who are over the age of 65 are at higher risk of developing serious symptoms if they

   contract COVID-19.

43. People with certain pre-existing medical conditions—including chronic lung disease,

   asthma, heart conditions, immune deficiencies, severe obesity, diabetes, chronic kidney

   disease, liver disease, HIV or AIDS, prolonged use of corticosteroids, cancer, smoking,

   and bone marrow or organ transplant—may be at a higher risk of developing serious

   symptoms if they contract COVID-19.

44. There is currently no cure or vaccine for COVID-19.

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                                                                             Counsel for Plaintiffs



                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 30th day of April, 2020, I electronically filed the foregoing
pleading with the Clerk of Court using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.

                                       /s/ Randal J. Robert
                                         Randal J. Robert




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